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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA
                                           No. 23 CR 384
        v.
                                           Judge Virginia M. Kendall
CHRISTOPHER SINGLETON

               GOVERNMENT’S RESPONSE IN OPPOSITION TO
             DEFENDANT’S MOTION TO SUPPRESS STATEMENTS

      The Court should deny Singleton’s motion to suppress because the motion is

not ripe. On February 3, 2023, after having been read his Miranda rights, defendant

Christopher Singleton signed a Miranda waiver form and agreed to speak with law

enforcement officers. Singleton then proceeded to make several admissions over the

course of approximately 80 minutes. Singleton now seeks to suppress certain

statements he made during his interrogation, arguing that he invoked his right to

counsel on at least two occasions during the interview. Dkt. 30. However, the Court

should deny defendant’s motion because the issue is not ripe for review.

      More specifically, while the government does not concede that the statements

made by Singleton violated his Miranda rights—and specifically reserves the right to

introduce the statements as evidence as part of any potential future charges—the

government does not intend to introduce any of the statements challenged by

defendant at trial for the charge in the indictment, namely, knowingly transmitting

in interstate commerce a communication containing a threat to injury the person of

another, in violation of 18 U.S.C. § 875(c). Dkt. 14. Accordingly, defendant’s motion

should be denied as moot. See United States v. Quintana, 2016 WL 6277435, at *1
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(N.D. Ill. Oct. 27, 2016) (denying as moot defendant’s motion to suppress with respect

to the search of his residence, given the government’s representation that it does not

intend to introduce any evidence from the search); United States v. Tomkins, 2009

WL 590237, at *4 (N.D. Ill. Mar. 6, 2009) (government's representation that it does

not intend to rely on any cameras, photo memory sticks, or packets of photographs

seized at defendant's house, or to introduce any evidence seized from defendant’s tool

chests moots the motion to suppress evidence); see also United States v. Watson, 2023

WL 6812302, at *1 (E.D. Wis. Oct. 16, 2023) (“Because the government has agreed

that it will not use any of this evidence at trial, there is no reason for the court to

make any findings as to the validity of the warrants. The general rule is that when

the government agrees that it will not seek to use challenged evidence at trial, a

motion seeking suppression of such evidence should be denied as moot.”).

      Thus, there is little value to be derived from, or need for, a judicial finding on

the matter. See, United States v. Aleman, 548 F.3d 1158, 1167 (8th Cir. 2008)

(declining to review denial of motion to suppress defendant’s statements, explaining

that the “challenge is moot because the government did not use any part of his

statement at the trial.”).




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      For the reasons set forth above, the government respectfully asks the Court to

deny defendant’s motion to suppress as moot.

                                               Respectfully submitted,

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